          Case 2:16-cv-01647-RAJ Document 70 Filed 09/27/18 Page 1 of 2



 1                                                                Hon. Richard A. Jones
 2

 3

 4

 5

 6                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 7                                 AT SEATTLE
 8
     CRIMINAL PRODUCTIONS, INC.,
 9
                           Plaintiff,                No. C16-1647 RAJ
10
             v.
11                                                   MINUTE ORDER SETTING
     PHILLIP BUCHANAN,                               SHOW CAUSE HEARING
12
                           Defendant.
13

14
          The following Minute Order is made by direction of the Court, the Honorable
15
     Richard A. Jones, United States District Judge:
16
          This matter comes before the court sua sponte. On September 6, 2018, the
17
     court entered a minute order directing the parties to file a Joint Status Report no later
18
     than September 21, 2018, that complies with the court’s requirements set forth in its
19
     Order Regarding Initial Disclosures and Joint Status Report. The court warned Mr.
20
     Buchanan that if no such report was filed by that date, the court would set a hearing
21   for Mr. Buchanan to appear in person and show cause why either default should not
22   be entered against him and/or why sanctions should not be imposed.
23        On September 24, 2018, Plaintiff filed a report stating, “To date Plaintiff has
24   still received no communication from Defendant in response to any of the Court’s
25   prior Orders, or otherwise demonstrating an effort to participate as ordered.”
26


     MINUTE ORDER SETTING
     SHOW CAUSE HEARING – 1
          Case 2:16-cv-01647-RAJ Document 70 Filed 09/27/18 Page 2 of 2



 1       Accordingly, the Court sets a hearing for NOVEMBER 9, 2018 at 3:30 p.m.,
 2   in Courtroom 13106 of the United States District Court, 700 Stewart Street, Seattle,
 3   Washington, before the Honorable Richard A. Jones, for Mr. Buchanan to appear
 4   and show cause why either default should not be entered against him and/or why

 5   sanctions should not be imposed.

 6       DATED this 27th day of September, 2018.

 7                                            WILLIAM M. McCOOL,
                                              Clerk of the Court
 8
                                               /s/ Victoria Ericksen
 9                                            Deputy Clerk to Hon. Richard A. Jones
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
26


     MINUTE ORDER SETTING
     SHOW CAUSE HEARING – 2
